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                   UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                                    APPEARANCE OF COUNSEL FORM
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               Mercury Financial, LLC
  COUNSEL FOR: _______________________________________________________________________

  __________________________________________________________________________________as the
                                                      (party name)

  ✔ appellant(s)      appellee(s)     petitioner(s)      respondent(s)     amicus curiae       intervenor(s)   movant(s)


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  Bryan A. Fratkin
  ________________________________________                           (804) 775-4352
                                                                     _______________
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  McGuireWoods LLP
  ________________________________________                           (804) 698-2100
                                                                     _______________
  Firm Name (if applicable)                                          Fax Number

   Gateway Plaza, 800 East Canal Street
  ________________________________________

   Richmond, VA 23219
  ________________________________________                           bfratkin@mcguirewoods.com
                                                                     _________________________________
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